Case 2:15-mc-51595-GER-MKM ECF No. 1, PagelD.1 Filed 11/12/15 Page 1 of 3

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AO 451 (Rev. 12/12} Clerk's Certification ofa Judgment to be evateved in A

UNITED STATES DISTRICT COURT

for the

oo . Case:?:15-mc-61595
Eastern District of Pennsylvania Judge: Rosen, Gerald E.

MJ: Majzoub, Mona kK.
Filed: 11-12-2015 At 02:10 PM

Leon Frenkel
. ~ ) CJ Lean Frenkel v Kenneth H Baker E
Plaintiff ) t Al (whi
v. ) Civil Action No. 13-cv-388u
_______ Kenneth H. Baker, Et. Al. )
Defendant )

CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

I certify that the attached judgment is a copy of a judgment entered by this court on (date) ‘1:'1/4/14

L also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending.

Date: 10/20/2015
CLERK OF COURT

CA PA be

Signature of ClerKor Deputy Clerk

.2. Filed 11/12/15 Page 2 of 3
ad 1i04/14 Page 1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LEON FRENKEL,

Plaintiff, CIVIL ACTION
. .
KENNETH H. BAKER, ef a@, No. 13-5880
Defendants. :
ORDER

AND NOW, this 4" day of November, 2014, on consideration of Plaintiff's Application for
Default Judgment and accompany ing memorandum (Document Nos. 63 and 64), and for the reasons
provided in this Court’s Memorandum dated November 4, 2014, it is hereby ORDERED that:
I. The Court denies default judgment against Baker on Counts I, IT, VI, VIH, 1X, X, XI,
XIV, XV, and XVI.

2. The Court enters default judgment against Webster on Counts I, IT, V, VI, VIII, and
IX,

3. The Court enters default judgment against Baker Enterprises on Counts I, I, V1,
VUI, 1X, X, XI, XIV, XV, and XVI.

4. The Court enters default judgment against Baker Group on Counts I, H, VIE, Ix, X,
XI, XV, and XVI.

5. The Court enters default judgment against New Life Church on Counts X, AI, XV,
and XVI and dismisses New Life Church from Counts [, H, VUI, and IX.

6. The Court enters default judgment against Fitzgerald on Counts I, IL, VIII, and IX.

7. The Court dismisses Klein from Counts I, I, VIG, and TX.

8. The Court enters default judgment against Kumar on Counts I, VIII, and IX.
9. The Court enters default judgment against E-Title on Counts I, VIII, and LX.
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The Court enters default judgment against King on Counts X, XI, XV, and XVI.
The Court enters default judgment against Four Kings on Counts X, XI, XV, and

XVI.

On Counts I, 1, V, VI, VIL, VILL, and LX, Webster, Baker Enterprises, Baker Group,
Fitzgcrald, Kumar, and E-Title are jointly and severally liable for damages of
$250,000, representing the lost Frenkel Funds.

On Count VI, Baker Enterprises is additionally liable for $61,541.10 in interest plus

$102.74 per diem.

On Counts X, XI, XIV, XV, and XVI, Baker Enterprises, Baker Group, New Life
Church, King, and Four Kings are jointly and severally liable for $250,000 in

damages, representing the lost Sugar Deposit.

On Count XIV, Baker Enterprises is additionally liable for $43,150.68 in interest

plus $82.19 per diem.

On Counts VI and XIV, Baker Enterprises ts further hable for $11,515 in attorneys’

fees and $92.70 in litigation costs.

Berle M. Schiller, J.
